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Attorneys for Defendant
Michael H. Schill



                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      EUGENE DIVISION


JENNIFER JOY FREYD,
                                                                           No. 6:17-cv-448-MC
                       Plaintiff,
                                                 ANSWER AND AFFIRMATIVE
         v.                                      DEFENSES OF DEFENDANT
                                                 MICHAEL H. SCHILL TO SECOND
UNIVERSITY OF OREGON,                            AMENDED COMPLAINT
MICHAEL H. SCHILL, and HAL
SADOFSKY,
                       Defendants.


         In answer to Plaintiff’s Second Amended Complaint, Defendant Michael H. Schill

(“Schill”) responds as follows:

                               INTRODUCTORY STATEMENT

                                                 1.

         In answer to Paragraph 1 of Plaintiff’s Second Amended Complaint, Schill admits that

Plaintiff has been a full professor in the University of Oregon’s Psychology Department for


1 - ANSWER AND AFFIRMATIVE DEFENSES OF                                   Perkins Coie LLP
    DEFENDANT MICHAEL H. SCHILL TO SECOND                          1120 N.W. Couch Street, 10th Floor
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almost 25 years, and that she is paid less than some of her male colleagues. Plaintiff also is paid

more than some of her male colleagues. Schill also admits that the Psychology Department has

recognized salary differences within the department. But those differences are based on a

number of different factors wholly unrelated to gender. Schill denies that the University of

Oregon has engaged in sex discrimination, or that it has violated any federal or state laws.

                                             PARTIES

                                                   2.

         Schill admits the allegations contained in Paragraphs 2 - 4 of Plaintiff’s Second Amended

Complaint.

                                                   3.

         In answer to Paragraph 5 of Plaintiff’s Second Amended Complaint, Schill admits that, as

of April 2015, he is the President of the University of Oregon and a resident of Eugene, Oregon.

Because Plaintiff’s First Amended Complaint does not contain any specific acts or omissions

committed by Schill, Schill denies that his acts or omissions were taken under color of state law.

Schill denies the allegation that he is “responsible for ensuring that UO complies with federal

and state law” as vague.

                                                   4.

         In answer to Paragraph 6 of Plaintiff’s Second Amended Complaint, Schill does not

represent and is not answering for Hal Sadofsky. No response is required for Defendant

Sadofsky, who is responding separately.

                                                   5.

         In answer to Paragraphs 7 and 8 of Plaintiff’s Second Amended Complaint, Schill admits

that this Court has jurisdiction over Plaintiff’s claims and that venue is proper.




2 - ANSWER AND AFFIRMATIVE DEFENSES OF                                      Perkins Coie LLP
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                                             FACTS

                                                 6.

         In answer to Paragraph 9 of Plaintiff’s Second Amended Complaint, Schill admits that

the University’s Psychology Department is a top-ranked department in the College of Arts and

Sciences, according to the National Research Council’s 2010 relative rankings.

                                                 7.

         In answer to Paragraph 10 of Plaintiff’s Second Amended Complaint, Schill denies the

allegation that salaries in the Psychology Department are determined solely based on seniority

and merit. Salaries are also based on job duties, which may be performed in the Psychology

Department and within other departments, the University’s Collective Bargaining Agreement,

and a given department or college’s funding, amongst some of the factors.

                                                 8.

         In answer to Paragraph 11 of Plaintiff’s Second Amended Complaint, Schill admits that

persons within the University Psychology Department conducted their own Self Study in Spring

2016. Schill does not admit that the conclusions stated in that study are accurate.

                                                 9.

         In answer to Paragraph 12 of Plaintiff’s Second Amended Complaint, Schill admits that

the Self Study contained those statements, but does not admit that the statements or conclusions

in the Self Study are accurate.

                                                 10.

         In answer to Paragraph 13 of Plaintiff’s Second Amended Complaint, Schill admits that

an External Review Committee evaluated the Department of Psychology in June 2016. Schill

denies the remaining allegations in Paragraph 13, to the extent they inaccurately suggest that the

External Review Committee’s report concluded that there is gender disparity in faculty salaries.



3 - ANSWER AND AFFIRMATIVE DEFENSES OF                                    Perkins Coie LLP
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                                                   11.

         In answer to Paragraph 14 of Plaintiff’s Second Amended Complaint, Schill admits that

the identified reports recognize that retention offers contribute to differences in salary levels.

The Expert Review Committee’s report also concluded that “the gender difference is smaller

when the number of years since hiring . . . or retention resolution is considered,” and, thus, “this

suggests that there is no overt bias.”

                                                   12.

         In answer to Paragraph 15 of Plaintiff’s Second Amended Complaint, Schill admits that

the identified statements were noted, but does not admit that the statements or conclusions are

accurate.

                                                   13.

         In answer to Paragraph 16 of Plaintiff’s Second Amended Complaint, Schill admits that

certain department heads have advocated for raises for female professors. Those department

heads also have specifically stated that Plaintiff’s salary is not based on her gender, and that

other male psychology professors doing work similar to Plaintiff are paid less.

                                                   14.

         In answer to Paragraph 17 of Plaintiff’s Second Amended Complaint, Schill denies that

Deans Sadofsky and Marcus were unwilling to use available money to address salary increases.

                                                   15.

         In answer to Paragraph 18 of Plaintiff’s Second Amended Complaint, Schill admits that

Plaintiff has been a full professor in the Psychology Department since 1992, has worked on the

concept of betrayal trauma, and was given the listed awards. Except as expressly admitted,

Schill denies the remaining allegation in Paragraph 18.




4 - ANSWER AND AFFIRMATIVE DEFENSES OF                                       Perkins Coie LLP
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                                                     16.

         In answer to Paragraph 19 of Plaintiff’s Second Amended Complaint, Schill admits that a

conference was scheduled in April 2017. Schill lacks sufficient knowledge about the remaining

allegations in Paragraph 19, and, therefore, denies the same.

                                                     17.

         In answer to Paragraph 20 of Plaintiff’s Second Amended Complaint, Schill admits that

Plaintiff’s 2015 post-tenure review included the quoted statement. Schill lacks sufficient

knowledge about the remaining allegations in Paragraph 20, and, therefore, denies the same.

                                                     18.

         In answer to Paragraph 21 of Plaintiff’s Second Amended Complaint, Schill denies the

allegation that Plaintiff holds the same responsibility, effort, or skill as all the other full

professors in the Psychology Department. Except as expressly admitted, Schill denies the

remaining allegations in Paragraph 21.

                                                     19.

         In answer to Paragraph 22 of Plaintiff’s Second Amended Complaint, Schill denies that

Plaintiff’s salary has been impacted by discrimination. Schill lacks sufficient knowledge about

the remaining allegations in Paragraph 22, and, therefore, denies the same.

                                                     20.

         In answer to Paragraph 23 of Plaintiff’s Second Amended Complaint, Schill admits that,

in May 2014, Plaintiff provided the head of the Psychology Department with her own analysis of

full professor salaries. Schill alleges that Plaintiff’s analysis is flawed and based on insufficient

data. Except as expressly admitted, Schill denies the remaining allegations in Paragraph 23.




5 - ANSWER AND AFFIRMATIVE DEFENSES OF                                         Perkins Coie LLP
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                                                   21.

         In answer to Paragraph 24 of Plaintiff’s Second Amended Complaint, Schill admits that,

in April 2015, Plaintiff and two colleagues provided their own statistical analysis of full

professor salaries. Schill denies the accuracy of their analysis.

                                                   22.

         In answer to Paragraph 25 of Plaintiff’s Second Amended Complaint, Schill lacks

sufficient knowledge concerning the allegations in that paragraph, and, therefore, denies the

same.

                                                   23.

         In answer to Paragraph 26 of Plaintiff’s Second Amended Complaint, Schill lacks

sufficient knowledge about Department Head Mayr’s knowledge, and, therefore, denies the

same. Schill admits that Plaintiff was given an eight-percent raise after her 2015 review. Except

as expressly admitted, Schill denies the remaining allegations in Paragraph 26.

                                                   24.

         In answer to Paragraph 27 of Plaintiff’s Second Amended Complaint, Schill denies the

allegations about Plaintiff’s salary in relation to her male peers. Schill lacks sufficient

knowledge about the remaining allegations in Paragraph 27, and, therefore, denies the same.

                                                   25.

         In answer to Paragraph 28 of Plaintiff’s Second Amended Complaint, Schill admits that,

in 2017, Schill lacks sufficient knowledge about the allegations in Paragraph 28, and, therefore,

denies the same.

                                                   26.

         In answer to Paragraph 29 of Plaintiff’s Second Amended Complaint, Schill admits that a

memo from Department Head Mayr states the quoted wording. Schill further alleges that the

memo also notes that retention offers can and do impact salaries of male professors. Schill lacks

6 - ANSWER AND AFFIRMATIVE DEFENSES OF                                      Perkins Coie LLP
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sufficient knowledge about the remaining allegations in Paragraph 29, and, therefore, denies the

same.

                                                  27.

         In answer to Paragraph 30 of Plaintiff’s Second Amended Complaint, Schill admits that

Department Head Mayr asked for an additional raise for Plaintiff, but denies that the suggested

figures and analysis were correct.

                                                  28.

         In answer to Paragraph 31 of Plaintiff’s Second Amended Complaint, Schill admits that

Department Head Mayr sent an email to the Psychology Department discussing pay equity.

Defendants deny the accuracy of any suggestion in Mayr’s email that “blatant gender inequities”

in pay in the Psychology Department exist.

                                                  29.

         In answer to Paragraph 32 of Plaintiff’s Second Amended Complaint, Schill admits that

Plaintiff did not receive an equity adjustment.

                                                  30.

         In answer to Paragraph 33 of Plaintiff’s Second Amended Complaint, Schill admits that

Deans Marcus and Sodofsky met with Plaintiff. Except as expressly admitted, Schill denies the

remaining allegations in Paragraph 33.

                                                  31.

         In answer to Paragraph 34 of Plaintiff’s Second Amended Complaint, Schill admits that

Plaintiff is paid less than some of the male professors in the Psychology Department. But Schill

denies that those male professors are similarly or less accomplished than Plaintiff, and further

denies that they are proper comparators. Schill admits that h-index is one available type of

metric used in academia, but alleges that it has limitations. Except as expressly admitted, Schill

denies the remaining allegations in Paragraph 34.

7 - ANSWER AND AFFIRMATIVE DEFENSES OF                                    Perkins Coie LLP
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                                                   32.

         In answer to Paragraph 35 of Plaintiff’s Second Amended Complaint, Schill admits that

he was aware that Plaintiff submitted a complaint to the Oregon Bureau of Labor and Industries

on or around February 9, 2017, which related to her allegations of gender-based inequities in

pay. Schill denies the existence of gender-based inequities in Plaintiff’s pay, and, therefore, that

he has failed to take corrective action to remedy those alleged inequities.

                                                   33.

         In answer to Paragraph 36 of Plaintiff’s First Amended Complaint, Schill admits that

Plaintiff has filed complaints with the Oregon Bureau of Labor and Industries and the EEOC,

and was issued notices of right to sue, but alleges that Plaintiff elected to withdraw those

complaints before presenting any evidence of her claims.

                                FIRST CLAIM FOR RELIEF
                              EQUAL PAY ACT, 29 U.S.C. § 206(d)
                                     (AGAINST UO)
                                                   34.

         Schill incorporates Paragraphs 1 - 33 above as if fully set forth herein.

                                                   35.

         In answer to Paragraphs 37 - 42 of Plaintiff’s First Amended Complaint, Schill

incorporates by reference Paragraphs 34 -35 of Answer and Affirmative Defenses of University

of Oregon and Hal Sadofsky to First Amended Complaint.

                               SECOND CLAIM FOR RELIEF
                            TITLE VII - DISPARATE TREATMENT
                                        (AGAINST UO)
                                                   36.

         Schill incorporates Paragraphs 1 - 35 above as if fully set forth herein.

                                                   37.


8 - ANSWER AND AFFIRMATIVE DEFENSES OF                                       Perkins Coie LLP
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         In answer to Paragraphs 43 - 49 of Plaintiff’s First Amended Complaint, Schill denies the

allegations.

                                  THIRD CLAIM FOR RELIEF
                                TITLE VII DISPARATE IMPACT
                                       (AGAINST UO)
                                                   38.

         Schill incorporates Paragraphs 1 - 37 above as if fully set forth herein.

                                                   39.
         In answer to Paragraphs 50 - 53 of Plaintiff’s First Amended Complaint, Schill denies the

allegations.

                                 FOURTH CLAIM FOR RELIEF
                                  TITLE IX, 20 U.S.C. § 1681(A)
                                       (AGAINST UO)
                                                   40.

         Schill incorporates Paragraphs 1 - 39 above as if fully set forth herein.

                                                   41.

         In answer to Paragraphs 54 - 59 of Plaintiff’s First Amended Complaint, Schill

incorporates by reference Paragraphs 38 - 39 of Answer and Affirmative Defenses of University

of Oregon and Hal Sadofsky to First Amended Complaint.

                       FIFTH CLAIM FOR RELIEF
     EQUAL PROTECTION CLAUSE OF THE UNITED STATES CONSTITUTION,
                          14TH AMENDMENT
             (AGAINST DEFENDANTS SCHILL AND SADOFSKY)
                                                   42.

         Schill incorporates Paragraphs 1 - 41 above as fully set forth herein.

                                                   43.

         In answer to Paragraphs 60 - 66 of Plaintiff’s First Amended Complaint, Schill denies the

allegations.
9 - ANSWER AND AFFIRMATIVE DEFENSES OF                                       Perkins Coie LLP
    DEFENDANT MICHAEL H. SCHILL TO SECOND                              1120 N.W. Couch Street, 10th Floor
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                             SIXTH CLAIM FOR RELIEF
              EQUAL RIGHTS AMENDMENT OF THE OREGON CONSTITUTION
                               ARTICLE I, SECTION 46
                                  (AGAINST UO)
                                                  44.

         In answer to Paragraphs 67 - 69 of Plaintiff’s First Amended Complaint, Schill neither

admits nor denies the allegations contained in Paragraphs 67 - 69, stating in support thereof that

no response is required.

                               SEVENTH CLAIM FOR RELIEF
                           ORS 659A.030 - DISPARATE TREATMENT
                                       (AGAINST UO)
                                                  45.

         In answer to Paragraphs 70 - 74 of Plaintiff’s First Amended Complaint, Schill neither

admits nor denies the allegations contained in Paragraphs 70 - 74, stating in support thereof that

no response is required.

                               EIGHTH CLAIM FOR RELIEF
                             ORS 659A.030 - DISPARATE IMPACT
                                       (AGAINST UO)
                                                  46.

         In answer to Paragraphs 75 - 78 of Plaintiff’s First Amended Complaint, Schill neither

admits nor denies the allegations contained in Paragraphs 75 - 78, stating in support thereof that

no response is required.

                                NINTH CLAIM FOR RELIEF
                           ORS 652.220 - WAGE DISCRIMINATION
                                       (AGAINST UO)
                                                  47.

         In answer to Paragraphs 79 - 82 of Plaintiff’s First Amended Complaint, Schill neither

admits nor denies the allegations contained in Paragraphs 79 - 82, stating in support thereof that

no response is required.

10 - ANSWER AND AFFIRMATIVE DEFENSES OF                                   Perkins Coie LLP
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                      TENTH CLAIM FOR RELIEF
     BREACH OF CONTRACT - COVENANT OF GOOD FAITH & FAIR DEALING
                            (AGAINST UO)
                                                   48.

         In answer to Paragraphs 83 - 86 of Plaintiff’s First Amended Complaint, Schill neither

admits nor denies the allegations contained in Paragraphs 83 - 86, stating in support thereof that

no response is required.

                                   AFFIRMATIVE DEFENSES

         Without assuming the burden of proof except where required by law, Schill states as
follows:

                               FIRST AFFIRMATIVE DEFENSE
                                FAILURE TO STATE A CLAIM
                                                   49.

         Schill incorporates Paragraphs 1 - 48 above as fully set forth herein.

                                                   50.

         Plaintiff’s Second Amended Complaint, in whole or in part, fails to state a claim against

Schill upon which relief can be granted.

                                                   51.

         Plaintiff’s claim for violation of the Equal Protection Clause of the 14th Amendment,

through 42 U.S.C. § 1983, is legally insufficient because Plaintiff does not assert and cannot

establish that Schill acted with intent to discriminate.

                                                   52.

         To the extent Plaintiff’s Fifth Claim for Relief incorporates her disparate-impact theories,

those claims are insufficient as a matter of law and do not identify a specific practice by Schill

that Plaintiff alleges to have resulted in the alleged impact.

                              SECOND AFFIRMATIVE DEFENSE
                                FACTORS OTHER THAN SEX

11 - ANSWER AND AFFIRMATIVE DEFENSES OF                                     Perkins Coie LLP
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                                                   53.

         Schill incorporates Paragraphs 1 - 52 above as fully set forth herein.

                                                   54.

         Any differential in pay underlying Plaintiff’s action arises from factors other than her sex.

They are not based on or derived from a sex-based differential in compensation. Instead, they

are job-related with respect to the position in question, consistent with business necessity, and

reasonable in light of their purpose.




12 - ANSWER AND AFFIRMATIVE DEFENSES OF                                     Perkins Coie LLP
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                               THIRD AFFIRMATIVE DEFENSE
                                  FAILURE TO MITIGATE
                                                     55.

         Schill incorporates Paragraphs 1 - 54 above as fully set forth herein.

                                                     56.

         Plaintiff has failed to exercise reasonable care and diligence to mitigate any alleged

damages. In the event that Plaintiff establishes her claim against Schill, Schill is entitled to an

offset in the amount that Plaintiff could have earned in the exercise of reasonable diligence.

                              FOURTH AFFIRMATIVE DEFENSE
                                  GOOD-FAITH EFFORTS
                                                     57.

         Schill incorporates Paragraphs 1 - 56 above as fully set forth herein.

                                                     58.

         At all times, Schill made good-faith efforts to comply with all applicable state and federal

laws.

                               FIFTH AFFIRMATIVE DEFENSE
                                  DUPLICATIVE REMEDIES
                                                     59.

         Schill incorporates Paragraphs 1 - 58 above as fully set forth herein.

                                                     60.

         Plaintiff is not entitled to duplicative remedies for the same underlying action or omission

under the various statutes invoked in this action.

                               SIXTH AFFIRMATIVE DEFENSE
                                        ESTOPPEL
                                                     61.

         Schill incorporates Paragraphs 1 - 60 above as fully set forth herein.



13 - ANSWER AND AFFIRMATIVE DEFENSES OF                                     Perkins Coie LLP
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                                                   62.

         Plaintiff is estopped from the relief sought, by having failed to seek out and/or secure

competitive outside offers in order to seek a retention offer, consistent with her belief and

assertion that she would have been able to secure such an offer.

                             SEVENTH AFFIRMATIVE DEFENSE
                                COMPLIANCE WITH LAW
                                                   63.

         Schill incorporates Paragraphs 1 - 62 above as fully set forth herein.

                                                   64.

         Schill’s actions were at all times taken as a result of his reasonable and good-faith

understanding of the applicable law.

                              EIGHTH AFFIRMATIVE DEFENSE
                                 STATUTE OF LIMITATIONS
                                                   65.

         Schill incorporates Paragraphs 1 - 64 above as fully set forth herein.

                                                   66.

         To the extent that any or all of Plaintiff’s claims seek recovery for acts preceding the
applicable statutes of limitations, those claims are untimely.

                        NINTH AFFIRMATIVE DEFENSE
               CONTROLLING COLLECTIVE BARGAINING AGREEMENT
                                                   67.

         Schill incorporates Paragraphs 1 - 66 above as fully set forth herein.

                                                   68.

         Plaintiff’s claims and challenges are barred by the provisions of the applicable Collective

Bargaining Agreement.



14 - ANSWER AND AFFIRMATIVE DEFENSES OF                                      Perkins Coie LLP
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                                                   69.

         Plaintiff failed to exhaust her grievance and other remedies under the provisions of the

Collective Bargaining Agreement.

         WHEREFORE, Schill prays for judgment as follows:

         1.     For judgment against Plaintiff on her Fifth Claim for Relief;

         2.     For an award of Schill’s reasonable costs, attorney fees, and disbursements

incurred herein, pursuant to 42 U.S.C. § 1988(b);

         3.     For all other and further relief as the Court deems just, equitable, and proper.

DATED: November 13, 2018                            PERKINS COIE LLP


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                                                    Attorneys for Defendant
                                                    Michael H. Schill




15 - ANSWER AND AFFIRMATIVE DEFENSES OF                                     Perkins Coie LLP
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